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                                  2023CV00526




                                                                                                       Tiki Brown
                                                                                              Clerk of State Court
                       IN STATE COURT OF CLAYTON COUNTY                                  Clayton County, Georgia
                                                                                                 Shalonda Green
                                STATE OF GEORGIA


 RONALD WRIGHT,

               Plaintiff,                              CIVIL ACTION
 vs.                                                   FILE NO: 2023CV00526

 EUSEBIO SANCHEZ and COBRA
 CARRIER, LLC,                                         JURY TRIAL DEMANDED

               Defendants.




 PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR
                           TRIAL BY JURY


       COMES NOW Plaintiff, RONALD WRIGHT and files his amended Complaint against

EUSEBIO SANCHEZ and COBRRA CARRIER, LLC as follows:

                              PARTIES AND JURISDICTION

                                               1.

       Plaintiff RONALD WRIGHT is a resident of the State of Georgia.

                                               2.

       Defendant EUSEBIO SANCHEZ (hereinafter “Sanchez”) is a resident of the State of

Texas, whose last known address is 7817 E Trenton Road, Edinburg (Hidalgo County) Texas

78542. Defendant may be served at that address.

                                               3.

       Defendant COBRA CARRIER, LLC (hereinafter “COBRA CARRIER, LLC”) is a

company with its principal place of business located at 1012 10th Street Alamo, (Hidalgo County)
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Texas 78516. Upon information and belief, Defendant may be served by their registered agent at

that address.

                                                  4.

       Defendants are subject to the jurisdiction of this Court.

                                                  5.

       Venue is proper in Clayton County, Georgia.

                                        BACKGROUND

                                                 6.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 5 above as if

the same were restated herein verbatim.

                                                 7.

      On or about January 30, 2023, Plaintiff was operating his vehicle in a safe and prudent

manner in Clayton County, Georgia.



                                                  8.

       At the same time, Defendant SANCHEZ was driving a 2000 Peterbilt 379 tractor-trailer

traveling North on North Parkway in the far left lane preparing to turn left on Georgia Hwy 331 in

Clayton County when he negligently and recklessly operated his vehicle by completing an

improper left turn and colliding into Plaintiff’s vehicle.

                                                  9.

       As a direct and proximate result of this collision, Plaintiff suffered bodily injuries, property

loss, and damages for which he has incurred expenses.
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           COUNT I – NEGLIGENCE OF DEFENDANT EUSEBIO SANCHEZ

                                                 10.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 9 above as if

the same were restated herein verbatim.

                                                  11.

       Defendant owed Plaintiff the duty of a reasonably prudent driver while operating his

truck; to keep a proper lookout; to maintain a safe following distance; to maintain his lane of

travel; to pay attention and avoid driver distractions at all times; to properly control his vehicle;

and to take proper evasive action(s) when necessary.

                                                  12.

       Defendant breached those duties by failing to remain observant while operating a tractor-

trailer and colliding with the Plaintiff and therefore, he was negligent in colliding with Plaintiff’s

vehicle.

                                                  13.

       As a direct and proximate result of the aforesaid negligence and breaches of duty by

Defendant SANCHEZ, Plaintiff has suffered significant injuries, medical expenses, and damages.

These damages include emotional distress, personal inconvenience, mental and physical pain and

suffering, loss wages, loss of enjoyment of life, due to the violence of the collision and injuries to

the Plaintiff’s body plus an inability to live a normal life. As a result of the subject collision,

Plaintiff has incurred medical expenses, which final amount will be determined.
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  COUNT II – NEGLIGENT ENTRUSTMENT OF DEFENDANT COBRA CARRIER,
                               LLC

                                               14.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 13 above as

if the same were restated herein verbatim.

                                               15.

       Defendant COBRA CARRIER, LLC negligently entrusted its 2000 Peterbilt semi-truck to

Defendant EUSEBIO SANCHEZ when they knew or should have known that Defendant

EUSEBIO SANCHEZ was incompetent to drive and allowed him to have access to the motor

vehicle anyway.

                                               16.

        Therefore, Defendant COBRA CARRIER, LLC is liable for the negligence of

Defendant EUSEBIO SANCHEZ.


    COUNT III – IMPUTED LIABILITY OF DEFENDANT COBRA CARRIER, LLC

                                               17.

       Plaintiffs reallege and incorporate herein the allegations contained in paragraphs 1 through

16 above as if fully restated.

                                               18.

       At the time of the subject crash, Defendant SANCHEZ was an employee of and/or under

dispatch for Defendant COBRA CARRIER, LLC.

                                                19.
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       At the time of the subject-crash, Defendant SANCHEZ was operating his tractor-trailer

truck for and/or on behalf of Defendant COBRA CARRIER, LLC.

                                                  20.

       At the time of the subject-crash, Defendant SANCHEZ was acting within the scope of his

employment with Defendant COBRA CARRIER, LLC.



                                                  21.

       Defendant COBRA CARRIER, LLC is responsible for the actions of Defendant

SANCHEZ in the subject-crash under the doctrine of respondeat superior, agency and/or apparent

agency.

                                                  22.

       As a direct and proximate result of the aforesaid negligence and breaches of duty by

Defendant COBRA CARRIER, LLC. Plaintiff has suffered significant injuries, medical expenses,

and damages. These damages include emotional distress, personal inconvenience, mental and

physical pain and suffering, loss wages, loss of enjoyment of life, due to the violence of the

collision and injuries to the Plaintiff’s body plus an inability to live a normal life. As a result of

the subject collision, Plaintiff has incurred medical expenses, which final amount will be

determined.


          COUNT IV – NEGLIGENT HIRING, TRAINING AND SUPERVISION OF
                       DEFENDANT COBRA CARRIER, LLC

                                                 23.

       Plaintiffs reallege and incorporate herein the allegations contained in paragraphs 1 through

22 above as if fully restated.
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                                                  24.

        Defendant COBRA CARRIER, LLC was negligent in hiring Defendant SANCHEZ and

entrusting him to operate the tractor-trailer truck.

                                                 25.

        Defendant COBRA CARRIER, LLC was negligent in failing to properly train Defendant

SANCHEZ.

                                                 26.

        Defendant COBRA CARRIER, LLC was negligent in failing to properly supervise

Defendant SANCHEZ.

                                                 27.

        Defendant COBRA CARRIER, LLC’s negligence in hiring Defendant SANCHEZ and

entrusting him to operate the truck, and in failing to properly train and supervise Defendant

SANCHEZ, was the sole and proximate cause of the subject-crash, and Plaintiff’s resulting

injuries.

                                                 28.

        Plaintiff is entitled to recover form Defendants for his past, present and future medical

expenses and past, present, and future pain and suffering, in an amount to be determined at trial,

as well as all other damages allowed under Georgia law.



            COUNT VI - ATTORNEYS’ FEES AND EXPENSES OF LITIGATION

                                                 29.

        Plaintiff realleges and incorporates herein by reference paragraphs 1 through 34 above as

if the same were restated herein verbatim.
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                                                 30.

       Defendants, individually and by and through their representatives, have been stubbornly

litigious and has caused Plaintiff unnecessary trouble and expense.

                                                 31.

       Defendants are liable to Plaintiff for the expenses of litigation, including attorney’s fees,

pursuant to O.C.G.A. § 13-6-11.



                             COUNT VII – PUNITIVE DAMAGES

                                                 32.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 37 above as

if the same were restated herein verbatim.

                                                 33.

       Defendants’ conduct was reckless, willful and wanton, and demonstrates a conscious

indifference to the consequences of their actions set forth above, therefore, entitles Plaintiff to an

aware of punitive damages in this matter.



       WHEREFORE, Plaintiff RONALD WRIGHT respectfully prays and demands as follows:

       a.      That Process and Summons issue, as provided by law, requiring Defendants to

appear and answer Plaintiff’s Complaint;

       b.      That service be had upon Defendants as provided by law;

       c.      That Plaintiff have and recover general damages from Defendants, as the jury

deems is liable to Plaintiff, and in such an amount as the jury deems just and appropriate to fully
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and completely compensate Plaintiff for all of his injuries and pain and suffering, mental, physical,

and emotional, past, present, and future;

        d.         That Plaintiff have and recover from Defendants, special damages for past and

future medical expenses and loss of income in the past and future in such an amount as shall be

proven at trial;

        e. That Plaintiff have and recover from Defendants, punitive damages for willful

             misconduct, malice, or that entire want of care which would raise the presumption of

             conscious indifference to consequences;

        f.         That this matter be tried to a jury of twelve;

        g.         That all costs be cast against the Defendants; and

        h.         For such other and further relief as this Court deems just and appropriate.




        This 14th day of April, 2023.

                                                               Respectfully submitted,

                                                               /s/ Edward Hardrick
                                                               EDWARD HARDRICK, ESQ.
                                                               Georgia Bar No. 606792
 Morgan & Morgan, PLLC                                         Attorney for Plaintiff
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